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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                Eastern Division

Laura Ravago, et al.
                                Plaintiff,
v.                                                    Case No.: 1:22−cv−00745
                                                      Honorable Jorge L. Alonso
Lori Lightfoot, et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 7, 2022:


         MINUTE entry before the Honorable Jorge L. Alonso: The Court grants plaintiffs'
motion [7] to withdraw motions 4 and 5. Motions [4, 5] are withdrawn. The Court notes
that it has reinstated the requirement that all motions be noticed in accordance with Local
Rule 5.3(b), despite suspension of that Rule by General Order 21−0027. Notice mailed by
Judge's staff (lf, )




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